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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                            :
                                                    :       CIVIL ACTION NO. 20-5721
                    v.                              :
                                                    :       CRIMINAL ACTION NO. 17-446-1
JOSE MANUEL ALBERTO-SOSA                            :

                                               ORDER

       AND NOW, this 20th day of January, 2023, upon consideration of Defendant’s Motion to

Vacate, Set Aside, or Correct his Sentence pursuant to 28 U.S.C. § 2255 (Docket No. 47), the

Government’s response thereto, and the evidentiary hearing we held on the Motion on December

8, 2022, and for the reasons set forth in the accompanying Memorandum, IT IS HEREBY

ORDERED as follows:

       1.      The Motion to Vacate, Set Aside, or Correct Sentence is DENIED.

       2.      Because Defendant has failed to make a substantial showing of the denial of a

               constitutional right, there is no basis for the issuance of a certificate of appealability.

       3.      The Clerk is directed to CLOSE Civil Action No. 20-5721.

                                                        BY THE COURT:

                                                        /s/ John R. Padova, J.
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                                                        John R. Padova, J.
